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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A
                     v.                                                   CRIMINAL CASE
              RAY ALBERT ALLEN                                            (For Revocation of Probation or Supervised Release)
                      (Defendant’s Name)                                  (For Offenses committed on or after November 1, 1987)
                                                                          Criminal Number: 1:11CR00404-002 LJO


                                                                          James Homola
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1 as alleged in the violation petition filed on 03/13/2014 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             NEW LAW VIOLATION                                       01/25/2014




The court: [U ] revokes: [ ] modifies: [] continues under same conditions of supervision heretofore ordered on 07/09/2012.

       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[X ]     Appeal Rights GIVEN.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                             July 21, 2014
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAWRENCE J. O'NEILL, United States District Judge
                                                                              Name & Title of Judicial Officer


                                                                                                 July 24, 2014
                                                                                                     DATE
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER: 1:11CR00404-002 LJO                                                                         Judgment - Page 2 of 4
DEFENDANT: RAY ALBERT ALLEN


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of TIME SERVED.



[]       No TSR: Defendant shall cooperate in the collection of DNA.

[]       The court makes the following recommendations to the Bureau of Prisons:


[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                1:11CR00404-002 LJO                                                                         Judgment - Page 3 of 4
DEFENDANT:                  RAY ALBERT ALLEN


                                                 SUPERVISED RELEASE

        Supervised release granted on 07/09/2012 is hereby REVOKED and defendant shall be placed on supervised
release for a term of 32 months with all previously ordered conditions to remain in effect and one additional condition (See
Page 4).


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low
         risk of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         (Check, if applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.
         § 16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if
         applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               1:11CR00404-002 LJO                                                            Judgment - Page 4 of 4
DEFENDANT:                 RAY ALBERT ALLEN


                                 SPECIAL CONDITIONS OF SUPERVISION

         1. The defendant shall reside and participate in a residential community corrections center, Turning Point
         in Bakersfield, CA, for a period of up to 120 days; said placement shall commence as directed by the
         probation officer pursuant to 18 USC 3563(b) (11). The defendant shall pay the cost of confinement as
         determined by the Bureau of Prisons.
